        Case 1:21-cr-00040-TNM Document 616-2 Filed 04/10/23 Page 1 of 3




                                         January 3, 2022



Director Michael Carvajal
Federal Bureau of Prisons
320 First St., NW
Washington, DC 20534

Director Carvajal,

        Sir, as Director of the Federal Bureau of Prisons, it is your personal responsibility to
ensure that the Constitutional rights to basic humanitarian care of federally incarcerated
Americans are protected. Regardless of the charges faced, every incarcerated human being is to
be treated humanely and with due consideration of their rights. Evidence of 8th Amendm ent
violations and denial of basic medical needs has been brought to the attention of Congress. We,
the undersigned, are officially advising you, Director Carvajal, that you are to immediately
address the abhorrent persecution of American citizens being held in pre-trial detention under
your watch. We demand that you use your authority to investigate this abuse, or we will use our
authority to investigate your failure. You have a choice to make Sir. This letter is fair
advisement. You swore an oath to uphold the Constitution. We expect you to stand by that oath
and protect the basic human rights of the incarcerated citizens under your care.

        Many instances of physical and psychological abuse, denial of medical care, 24 -hour
solitary confinement, denial of basic personal hygiene, denial of access to legal counsel,
destruction of records, and general abuse of rights and mandated standards for prisoners have
been brought to our attention. Constitutionalist Republicans in Congress will not stand idly by
and allow these atrocities to continue. We promise you, good Sir, those responsible within BOP
will be held to account. Despite the collaborative effort of some members of Congress and the
Executive branch to suppress facts and interfere with our individual investigations, we have,
collectively, already harvested a tremendous amount of condemning evidence of abuse and
persecution within BOP. Thus, we are somberly prayerful that you will recognize the
significance of this official letter, and act to correct the grievances that you must, by any
reasonable man’s assessment, be knowledgeable of. Failure to act within the parameters of your
authority will be interpreted as your personal complicity with the ongoing abuse of American
citizens incarcerated within BOP facilities.

       These instances of violations of your legal responsibility to protect the incarcerated
population under your care include an accusation of gradual, continuous poisoning… a
        Case 1:21-cr-00040-TNM Document 616-2 Filed 04/10/23 Page 2 of 3




documented accusation of longstanding torture… where one prisoner has been f orced to ingest
foods that cause him incredible internal pain, slowly killing him. The gluten -free diet parameters
that have been prescribed by his physician to alleviate a medically diagnosed condition, celiac
disease, has been repeatedly denied by BOP wardens under your command. To protect the
privacy rights of this particular pre-trial detainee, we have attached a confidential file with this
letter. We expect action from your office to provide immediate medical care for the referenced
American citizen. If he dies from the poisoning you are allowing, you will face criminal referral
before the sun sets on his grave.

        Very serious accusations are being made by the families of federally incarcerated
American citizens under your care. Failure to follow the laws of our nation which dictate the way
your facilities should treat incarcerated United States citizens will indeed result in legal and
criminal liability. The Republican majority 118th Congress is nigh, and the reimplementation of
responsible and vigorous Congressional oversight of important issues such as this will return to
our nation’s Capital.

        Director Carvajal, good Sir, we have no doubt that in response to this letter, you will
claim to be a man of honor and resolve. Demonstrate then, your commitment to the core
principles you’ve sworn to uphold. Use your authority to stand for legal and Constitutional
leadership. Aggressively address the violations we now officially and publicly bring to your
attention. Failure to do so will bring dire consequence upon you, your office, your chain of
command, and the entire Bureau of Prisons.

       Respectfully, as members of Congress united to stand for the rights of all Americans, we
are…




Clay Higgins                                          Marjorie Taylor Greene
Member of Congress                                    Member of Congress




Jeff Duncan                                           Jody Hice
Member of Congress                                    Member of Congress




Andy Biggs                                            Andrew Clyde
Member of Congress                                    Member of Congress
      Case 1:21-cr-00040-TNM Document 616-2 Filed 04/10/23 Page 3 of 3




Mary E. Miller                           Byron Donalds
Member of Congress                       Member of Congress




Ralph Norman                             Andy Harris M.D.
Member of Congress                       Member of Congress




Lauren Boebert                           Randy Weber
Member of Congress                       Member of Congress




Paul Gosar, D.D.S.                       Scott Perry
Member of Congress                       Member of Congress
